Case 16-32021   Doc 85   Filed 02/20/17 Entered 02/20/17 14:55:43   Desc Main
                           Document     Page 1 of 8
Case 16-32021   Doc 85   Filed 02/20/17 Entered 02/20/17 14:55:43   Desc Main
                           Document     Page 2 of 8
Case 16-32021   Doc 85   Filed 02/20/17 Entered 02/20/17 14:55:43   Desc Main
                           Document     Page 3 of 8
Case 16-32021   Doc 85   Filed 02/20/17 Entered 02/20/17 14:55:43   Desc Main
                           Document     Page 4 of 8
Case 16-32021   Doc 85   Filed 02/20/17 Entered 02/20/17 14:55:43   Desc Main
                           Document     Page 5 of 8
Case 16-32021   Doc 85   Filed 02/20/17 Entered 02/20/17 14:55:43   Desc Main
                           Document     Page 6 of 8
Case 16-32021   Doc 85   Filed 02/20/17 Entered 02/20/17 14:55:43   Desc Main
                           Document     Page 7 of 8
Case 16-32021   Doc 85   Filed 02/20/17 Entered 02/20/17 14:55:43   Desc Main
                           Document     Page 8 of 8
